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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS,                                                      Chapter 11
INC., et al.,                                                                  Case No. 07-10416-KJC, et seq.

                                     Debtors.


        ORDER TERMINATING AUTOMATIC STAY UNDER SECTION 362 OF THE
         BANKRUPTCY CODE WITH RESPECT TO REAL PROPERTY LOCATED
                   AT 27 WOODS WAY WOODBURY, CT 06798
                           (relates to Docket No. ____)

            UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code with Respect to Real Property Located at 27 Woods Way

Woodbury, CT 06798 (the “Motion”) filed by US Bank National Association, as Trustee for

Asset-Backed Pass-Through Certificates, Series 2006-NC1 (“Movant”), and any response

thereto; the Court having determined that (A) the Court has jurisdiction over the Motion

pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); (C) venue is proper pursuant to 28 U.S.C. § 1409(a); and (D) service to the limited

parties stated on the Certificate of Service is adequate under the circumstances; and the Court

having further determined that cause exists to grant Movant relief from the automatic stay with

respect to Movant’s exercise of any rights and remedies against the real property located at 27

Woods Way Woodbury, CT 06798 (the “Property”) under applicable non-bankruptcy law; it is

hereby




Movant: US Bank National Association, as Trustee for Asset-Backed Pass-Through Certificates, Series 2006-NC1
D&G Reference: 214154

Property Address: 27 Woods Way
Woodbury, CT 06798
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        ORDERED, that the Motion be, and the same is hereby GRANTED. All capitalized

terms not otherwise defined herein shall have the respective meanings set forth in the Motion;

and it is further

        ORDERED, that pursuant to 11 U.S.C. § 362(d), to the extent the automatic stay is

otherwise applicable, Movant is hereby granted relief from the automatic stay, and the automatic

stay is terminated, with respect to Movant’s interest in the Property. Movant is hereby permitted

to exercise its rights under applicable non-bankruptcy law against the Property, including but not

limited to foreclosure of the Mortgage; and it is further

        ORDERED, that nothing in this order (i) shall constitute a determination that the Debtor

holds any interest in the Property or (ii) shall estop the Debtor from denying that it holds any

interest in the Property; and it is further

        ORDERED, that this Order is immediately effective and is not stayed by operation of

law, notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE




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